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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

GlNGER L. JONES and ESSlE RANKIN,
Plaintiffs,

-against-

ROCHESTER TNSTITUTE OF TECHNOLOGY

and CHRIS DENINGER,

Defendants.

Civil Action No. l2-cv-6210

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DIsCoNTINUANCE wITH
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IT IS HEREBY STIPULATED and agreed, by and between the undersigned attorneys

for the parties, that Plaintiffs’ Complaint and any and all claims that were or could have been

asserted in this action are hereby dismissed in their entirety, with prejudice, without costs to

either party.

Dated: April 2, 2018

Dated: April 19, 2018

 

s/Prathima Reddy s/Pamela S. C. Reynolds
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Dated: April 3, 2018

s/Mary E. Shepard

 

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SO ORDERED

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MioHAEL' A. tELEsoA
United States District judge

DATE Y/>(r//j:

